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                                              UNITED STATES DISTRICT COURT
                                              SOUTHERN DISTRICT OF FLORIDA
                                                     MIAMI DIVISION

                                                    CASE NO.: 1:17-cv-22684-FAM

   ROBERT SCHULTZE,

              Plaintiff,

   v.

   2K CLEVELANDER, LLC,

         Defendant
   __________________________________/

         DEFENDANT’S NOTICE OF PENDING RELATED, AND SIMILAR ACTIONS
        PURSUANT TO LOCAL RULE 3.8 AND INTERNAL OPERATING PROCEDURE
               2.15.00 AND MOTION TO TRANSFER AND CONSOLIDATE

            COMES NOW Defendant, 2K CLEVELANDER, LLC, pursuant to Local Rule 3.8 and

   Internal Operating Procedure 2.15.00, and hereby gives Notice to the Court that there are

   additional pending cases that involve the same or similar issues as the instant matter, and request

   that all pending lawsuits be transferred to Judge Federico A. Moreno and consolidated for

   discovery purposes, and in support thereof the Defendant states the following:

            1. Currently there are five pending lawsuits involving the exact same issues against

                 Defendant 2k Clevelander, LLC. The five related lawsuits are as follows (in order of

                 filing date):

                          a. Robert Schultze v. 2K Clevelander, LLC, 17-22684-CIV-MORENO;

                                   i. Case filed on July 18, 2017.

                                  ii. Trial set for 2-week period commencing May 14, 2018.

                                 iii. Deadline to complete all discovery including depositions: January 17,

                                        2018.

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                       b. Samantha Espinosa v. 2K Clevelander, LLC, 17-cv-22783-JLK;

                                   i. Case filed on July 25, 2017.

                                  ii. Trial set for 2-week period commencing December 10, 2018.

                                 iii. Deadline to complete all discovery including depositions: August 8,

                                        2018.

                       c. Sara Geda v. 2K Clevelander, LLC, case no. 17-cv-23924-DPG;

                                   i. Case filed on October 25, 2017.

                                  ii. No official Court Order has been entered regarding scheduling.

                       d. Mario Alban v. 2K Clevelander, LLC, case no. 17-23923-CIV-MORENO;

                                   i. Case filed on October 25, 2017.

                                  ii. Trial set for 2-week period commencing July 9, 2018.

                                 iii. Deadline to complete all discovery including depositions: March 9,

                                        2018.

                       e. Juan Llorente v.                      2K       Clevelander,           LLC,        case       no.      1:17-cv-23922-
                          SCOLA/TORRES.

                                   i. Case filed on October 25, 2017.

                                  ii. Trial set for 2-week period commencing August 20, 2018.

                                 iii. Deadline to complete all discovery including depositions: March 21,

                                        2018.

            2. Each of the aforementioned lawsuits involve issues relating to alleged unpaid wages

                 and unpaid overtime under the FLSA for the time periods of 2014 through 2017. In

                 fact, the allegations in each of the aforementioned Complaints are substantially similar

                 and include significant overlap.



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            3. In each of the five lawsuits, the Defendant has asserted that each of the Plaintiffs are

                 exempt from overtime pursuant to the Retail Sales Exemption under 29 §USC 207(i),

                 and that the Plaintiffs were otherwise paid properly and owed no additional

                 compensation.

            4. Pursuant to Local Rule 3.8 and Internal Operating Procedure 2.15.00, the Defendant

                 hereby gives Notice to this Court that in total there are five lawsuits that have been

                 asserted against the same Defendant and which involve the same issues to be litigated.

                 Additionally, all of the lawsuits involve the same attorneys.

            5. The Defendant requests that the five lawsuits all be transferred to the Judge assigned to

                 the lower-numbered action (Federico A. Moreno), so that all five cases are before the

                 same Judge in order to avoid the unnecessary duplication of judicial labor of having

                 different judges determine the same issue(s).

            6. Moreover, the Defendant seeks to have all lawsuits consolidated for purposes of

                 discovery.

                                                                  ARGUMENT

            Internal Operating Procedure 2.15.001 states the following:

                    Whenever an action or proceeding is filed in the Court which involves
                    subject matter which is a material part of the subject matter of another
                    action or proceeding then pending before this Court, or for other
                    reasons the disposition thereof would appear to entail the unnecessary
                    duplication of judicial labor if heard by a different Judge, the Judges
                    involved shall determine whether the higher-numbered action or
                    proceeding shall be transferred to the Judge assigned to the lower-
                    numbered action.



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     Moreover, Local Rule 3.8 (Notice of Transfer of Refiled and Similar Actions and Procedures) provides that “[i]t
   shall be the continuing duty of the attorneys of record in every action or proceeding to bring promptly to the
   attention of the court and opposing counsel the existence of other actions or proceedings as described in Section
   2.15.00 of the Court’s Internal Operating Procedures….”
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   Transfer of all pending matters set forth above is appropriate as all matters assert substantially

   similar claims as those set forth in the original matter filed and assigned to Judge Federico A.

   Moreno (Robert Schultze v. 2K Clevelander, LLC, 17-22684-CIV-MORENO). Moreover, Judge

   Moreno is currently assigned to two of the five pending lawsuits and therefore is overseeing 40%

   of the cases. As noted above, all five of the pending lawsuits involve issues regarding overtime

   under the FLSA and the application of the Retail Sales Exemption under the FLSA, as well as

   issues regarding, inter alia, alleged improper record keeping, and time keeping errors, which,

   again, would apply to all cases. As these issues are common to all of the lawsuits, and include

   rulings that would apply to all cases, there is sufficient justification to warrant their transfer.

   Moreover, assigning all of the cases to the same Judge for pretrial proceedings will promote

   efficient management of this litigation and ensure judicial economy.

              As the cases involve voluminous discovery that overlap with one another, it would be

   inefficient and burdensome for the parties to be working on differing scheduling timelines and

   conflicting scheduling orders. Additionally, there is the risk of having conflicting determinations

   on discovery issues that likely may arise. In fact, at present, the Plaintiff in the Schultze matter

   has filed a Motion to Compel, wherein Plaintiff’s counsel cites to a discovery order issued in a

   separate lawsuit, unrelated to the subject (7i) cases noted above, but involving the same

   Defendant and Plaintiff’s counsel. This is certainly an issue the Defendant is seeking to avoid as

   different Judges may issue differing and conflicting rulings, requiring the Defendant to produce

   information/documentation in certain instances but not in others which would certainly serve to

   prejudice the Defendant significantly in the defense of all the cases. Further, the discovery in

   each case will have relevancy to all cases.




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            Accordingly, given the identical nature of the factual allegations presented and legal issues

   involved, management of the aforementioned cases before a single Judge would result in the

   most orderly and efficient progression of litigation of the cases and would serve to conserve the

   resources of the Court and all parties involved. Given that the first action filed (Robert Schultze

   v. 2K Clevelander, LLC, 17-22684-CIV-MORENO) is before Judge Federico A. Moreno, the

   Defendant respectfully requests that all matters pending be transferred and docketed fore Judge

   Moreno, and consolidated for discovery purposes.

            WHEREFORE the Defendant, 2K CLEVELANDER, LLC hereby requests that this Court

   transfer the five pending lawsuits, as well as any subsequently filed lawsuits, to the Judge

   assigned to the lower-numbered action (Judge Federico A. Moreno), and consolidate all matters

   for discovery purposes, along with any and all other relief deemed just and proper.

              CERTIFICATE OF CONFERENCE PURSUANT TO S.D. FLA. L.R 7.1(a)(3)

              Counsel for the movant has conferred with all parties or non-parties who may be affected

   by the relief sought in the motion in a good faith effort to resolve the issues raised in the motion

   and counsel for the Plaintiff has advised they oppose the relief requested herein.




                                             [Certificate of Service on Following Page]




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                                                    CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that on this 20th day of December, 2017, a true and correct copy

   of the foregoing has been furnished by electronic filing with the Clerk of the court via CM/ECF,

   which will send notice of electronic filing to all counsel of record.


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